       Case 3:22-cv-01267-RDM-CA Document 27 Filed 02/10/23 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSE MONTANEZ,                             :    No. 3:22-cv-1267
                                 Plaintiff :
                                           :    (Judge Mariani)
                   v.                      :
                                           :    Electronically Filed Document
PAULA PRICE, et al.,                       :
                               Defendants :

                   MOTION TO DISMISS THE AMENDED
                            COMPLAINT

      Defendants Price, Wagman, Davis, Ellers, Wakefield, Patton, Rivello, and The

Commonwealth      of    Pennsylvania,   Department    of   Corrections   (collectively,

“Commonwealth Defendants”), hereby move, pursuant to FED. R. CIV. P. 12(b)(6), to

dismiss Plaintiff’s Amended Complaint for failure to state a claim upon which relief

can be granted. A brief in support of this motion will be filed concurrently in

accordance with L.R. 7.5.

                                              Respectfully submitted,

                                              MICHELLE HENRY
                                              Acting Attorney General

                                        By:   s/ Francis H. Pryzbylkowski
                                               FRANCIS H. PRYZBYLKOWSKI
Office of Attorney General                     Deputy Attorney General
15th Floor, Strawberry Square                  Attorney ID #329644
Harrisburg, PA 17120
Phone: (717) 783-6491                          KAREN M. ROMANO
                                               Chief Deputy Attorney General
      Case 3:22-cv-01267-RDM-CA Document 27 Filed 02/10/23 Page 2 of 3




fpryzbylkowski@attorneygeneral.gov       Civil Litigation Section

Date: February 10, 2023                  Counsel for Defendants Price, Wagman,
                                         Davis, Ellers, Wakefield, Patton, Rivello,
                                         and DOC




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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSE MONTANEZ,                     :                 No. 3:22-CV-1267
                         Plaintiff :
                                   :                 Judge Mariani
               v.                  :
                                   :
PAULA PRICE, DR. MAHLI,            :                 Electronically Filed Document
GABRELLE NALLEY, NURSE MEL, :
DR. PRESTON, R. ELLERS, DR.        :                 Complaint Filed 08/12/22
EDWARDS, MARY PATTON, C.           :
WAKEFIELD and N. DAVIS,            :
                      Defendants :

                             CERTIFICATE OF SERVICE
       I, Francis H. Pryzbylkowski, Deputy Attorney General for the Commonwealth

of Pennsylvania, Office of Attorney General, hereby certify that on February 10,

2023, I caused to be served a true and correct copy of the foregoing document titled

Motion to Dismiss the Amended Complaint to the following:

VIA U.S. MAIL
Smart Communications/PADOC1
Jose Montanez, KW-8233
SCI Huntingdon
P.O. Box 33028
St. Petersburg, FL 33733
Pro Se Plaintiff

                                                   s/ Francis H. Pryzbylkowski
                                                  FRANCIS H. PRYZBYLKOWSKI
                                                  Deputy Attorney General

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        Pursuant to a change to the Department of Corrections’ mail procedures, all mail, except
mail from an inmate’s attorney or from a court, must be processed through the vendor listed.
